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          NOT YET SCHEDULED FOR ORAL ARGUMENT
                    No. 25-5067 & 25-5068

        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT

                            J.G.G., et al.,
                         Plaintiffs-Appellees,
                                  v.
                       DONALD J. TRUMP, et al.,
                       Defendants-Appellants.

           On Appeal from the United States District Court
                    for the District of Columbia
                          No. 1:25-cv-766

       NOTICE OF INTENT TO FILE AMICUS BRIEF OF
        AMICI CURIAE SOUTH CAROLINA, VIRGINIA,
                 AND 24 OTHER STATES

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          NOTICE OF INTENT TO FILE AMICUS BRIEF

     The State of South Carolina, the Commonwealth of Virginia, and

24 other States hereby file this notice of intent to file an amicus brief in

support of Defendants-Appellants.




Dated: March 18, 2025                    Respectfully submitted,

s/ Joseph D. Spate
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                     CERTIFICATE OF SERVICE

     I certify that on March 18, 2025, I caused this document to be

electronically filed with the Clerk of Court using this Court’s CM/ECF

system, which will send a notice of docketing activity to all parties who

are registered through CM/ECF.

                                    s/ Joseph D. Spate
                                    Joseph D. Spate




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